                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

STEVEN MILLER,                            ) CIVIL ACTION NO. 1:12-cv-1152
                       Plaintiff,         )
                                          )
       v.                                 ) COMPLAINT
                                          )
CREDIT BUREAU COLLECTION                  )
SERVICES, INC., d/b/a CBCS, and           ) JURY TRIAL DEMAND
VERIZON WIRELESS (VAW) LLC,               )
d/b/a VERIZON WIRELESS,                   )
                                          )
                       Defendants.        )
                                          )

                                NATURE OF ACTION

       1.      This is an action brought under the federal Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., the North Carolina Collection

Agency Act (“NCCAA”), N.C. Gen. Stat. § 58-70-90 et seq., and the North

Carolina Debt Collection Act (“NCDCA”), N.C. Gen. Stat. § 75-50 et seq.

                             JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d), 28 U.S.C. §

1331, and 28 U.S.C. § 1367(a).

       3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendants transact

business in this district.




                                         1



    Case 1:12-cv-01152-WO-LPA Document 1 Filed 10/26/12 Page 1 of 8
                                      PARTIES

         4.    Plaintiff, Steven Miller (“Plaintiff”), is a natural person who at all

relevant times resided in the State of North Carolina, County of Rowan, and City

of Spencer.

         5.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), N.C.

Gen. Stat. § 58-70-90(2), and N.C. Gen. Stat. § 75-50(1).

         6.    Defendant, Credit Bureau Collection Services, Inc. d/b/a CBCS

(“CBCS”), is an entity which at all relevant times was engaged, by use of the

mails and telephone, in the business of attempting to collect a “debt” from

Plaintiff, as defined by 15 U.S.C. § 1692a(5) and N.C. Gen. Stat. § 58-70-90(3).

         7.    CBCS is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

         8.    CBCS is a “collection agency” as defined by N.C. Gen. Stat. § 58-

70-90(1).

         9.    Defendant, Verizon Wireless (VAW) LLC, d/b/a Verizon Wireless

(“Verizon”), is a corporation who at all relevant times was engaged, by use of the

mails and telephone, in the business of directly or indirectly attempting to collect a

“debt” from Plaintiff, as defined by N.C. Gen. Stat. § 75-50(2).

         10.   Verizon is a “debt collector” as defined by N.C. Gen. Stat. § 75-

50(3).

                           FACTUAL ALLEGATIONS

         11.   Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than CBCS—

                                           2



    Case 1:12-cv-01152-WO-LPA Document 1 Filed 10/26/12 Page 2 of 8
namely Verizon.

       12.       Plaintiff’s obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendant, arises from a transaction in

which the money, property, insurance, or services that are the subject of the

transaction were incurred primarily for personal, family, or household purposes—

namely personal telephone services.

       13.       Defendants use instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

       14.       Prior to February 2011, Defendants began trying to collect an

alleged debt from Plaintiff.

       15.       Plaintiff, via his counsel, sent written correspondence dated

February 8, 2011 to CBCS, and in such correspondence notified CBCS that

Plaintiff was represented by counsel with respect to the alleged debt, stating in

relevant part:

       Please be advised that this office represents the above-named
       individual regarding the aforementioned account.

       Having been formally notified of our representation, we respectfully
       demand you not contact our client for any reason. Instead, please
       direct all future contact and correspondence to this office and in fact
       consider this letter express and unequivocal revocation of any
       permission our client may have provided you to call them.

(See February 8, 2011 Correspondence, attached as Exhibit A).


                                            3



    Case 1:12-cv-01152-WO-LPA Document 1 Filed 10/26/12 Page 3 of 8
       16.    Upon information and good-faith belief, CBCS received Plaintiff’s

notice of representation on or about February 18, 2011.

       17.    Plaintiff, via his counsel, sent written correspondence dated June 28,

2011 to Verizon, and in such correspondence notified Verizon that Plaintiff was

represented by counsel with respect to the alleged debt, stating in relevant part:

       Please be advised that this office represents the above-named
       individual regarding the aforementioned account.

       Having been formally notified of our representation, we respectfully
       demand you not contact our client for any reason. Instead, please
       direct all future contact and correspondence to this office and in fact
       consider this letter express and unequivocal revocation of any
       permission our client may have provided you to call them.

(See June 28, 2011 Correspondence, attached as Exhibit B)

       18.    Despite knowledge that Plaintiff was represented by counsel, in

connection with the collection of the same debt, CBCS, itself and on behalf of

Verizon, sent Plaintiff written communication dated August 31, 2012 demanding

payment. (See August 31, 2012 Correspondence, attached hereto as Exhibit C).

       19.    Plaintiff’s counsel did not consent to any direct communication with

Plaintiff.

       20.    At no time did Plaintiff’s counsel fail to respond within a reasonable

period of time to a communication from Defendants.




                                          4



    Case 1:12-cv-01152-WO-LPA Document 1 Filed 10/26/12 Page 4 of 8
                                   COUNT I
                        VIOLATION OF 15 U.S.C. § 1692c(a)(2)
                                    CBCS

         21.      Plaintiff repeats and re-alleges each and every factual allegation

above.

         22.      CBCS violated 15 U.S.C. § 1692c(a)(2) by communicating with

Plaintiff directly after learning that Plaintiff was represented by counsel, when an

attempt to contact Plaintiff’s counsel had not been made, or Plaintiff’s counsel was

not given sufficient time to respond to an initial attempt to communicate, and

where no permission had been given to contact Plaintiff directly.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that CBCS violated 15 U.S.C. § 1692c(a)(2);

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                  1692k(a)(2)(A), in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                  1692k(a)(1);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.



                                            5



   Case 1:12-cv-01152-WO-LPA Document 1 Filed 10/26/12 Page 5 of 8
                                 COUNT II
                  VIOLATION OF N.C. GEN. STAT. § 58-70-115(3)
                                   CBCS

         23.      Plaintiff repeats and re-alleges each and every factual allegation

above.

         24.      CBCS violated N.C. Gen. Stat. § 58-70-115(3) by communicating

with Plaintiff when CBCS had been notified by Plaintiff’s attorney of Plaintiff’s

representation.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that CBCS violated N.C. Gen. Stat. § 58-70-115(3);

               b) Awarding Plaintiff actual damages, pursuant to N.C. Gen. Stat. § 58-

                  70-130(a);

               c) Awarding Plaintiff statutory damages per violation, pursuant to N.C.

                  Gen. Stat. § 58-70-130(b);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                  this action, pursuant to N.C. Gen. Stat. § 75-16.1;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.




                                               6



   Case 1:12-cv-01152-WO-LPA Document 1 Filed 10/26/12 Page 6 of 8
                                 COUNT III
                      VIOLATION OF N.C. GEN. STAT. § 75-55(3)
                                  VERIZON

         25.      Plaintiff repeats and re-alleges each and every factual allegation

above.

         26.      Verizon violated N.C. Gen. Stat. § 75-55(3) by communicating with

Plaintiff, other than a statement of account used in the normal course of business,

when Verizon had been notified by the Plaintiff’s attorney that Plaintiff was

represented.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Verizon violated N.C. Gen. Stat. § 75-55(3).

               b) Awarding Plaintiff statutory damages per violation, pursuant to N.C.

                  Gen. Stat. § 75-56(b)(ii);

               c) Awarding Plaintiff actual damages, pursuant to N.C. Gen. Stat. § 75-

                  56(b)(i);

               d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                  this action, pursuant to N.C. Gen. Stat. § 75-16.1;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.




                                               7



   Case 1:12-cv-01152-WO-LPA Document 1 Filed 10/26/12 Page 7 of 8
                          TRIAL BY JURY

  27.   Plaintiff is entitled to and hereby demands a trial by jury.


  DATED this 26th day of October, 2012.

                                     Respectfully submitted,

                                     /s/ Holly E. Dowd
                                     Holly E. Dowd (N.C. Bar No. 37533)
                                     Weisberg & Meyers, LLC
                                     409A Wakefield Dr.
                                     Charlotte, NC 28209
                                     (888) 595-9111 ext. 260
                                     (866) 565-1327 (fax)
                                     hdowd@attorneysforconsumers.com

                                     ATTORNEYS FOR PLAINTIFF

                          Please send correspondence to the address below

                                     Holly E. Dowd
                                     Weisberg & Meyers, LLC
                                     5025 N. Central Ave. #602
                                     Phoenix, AZ 85012




                                    8



Case 1:12-cv-01152-WO-LPA Document 1 Filed 10/26/12 Page 8 of 8
